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CITY OF NEW ORLEANS THROUGH ERICA BURKHALTER on 07/07/2022

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
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KIRA GODCHAUX-BOUDREAUX  * CASE NO.: 21-1525
* SECTION: L

versus * JUDGE ELDEN E. FALLON

* MAGISTRATE: 3
* JUDGE DANA M. DOUGLAS
CITY OF NEW ORLEANS *
KEKE K KEKE KK KEKE KKK KKKKKEKEKKEKEKEKKKKKKK KKK KKK KKK KKK KKK
Rule 30(b) (6) deposition of the CITY OF
NEW ORLEANS POLICE DEPARTMENT, through its
representative ERICA BURKHALTER, taken on

THURSDAY, JULY 7, 2022, commencing at 3:41 PM, via

 

 

 

videoconference.
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1 Q_ And it was my understanding that you're | 1 Q_ Okay. Have you seen it before?

2 acivilian employee; is that correct? 2 A Maybe. [ don't remember. | have an

3 A That's correct. 3 employ -- a clerical employee as it relates to

4 Q_ Can you explain to me what that means? | 4 making copies and filing items in the personnel
5 A I'mnot a commissioned officer. So the 5 file. So | don't really have anything -- access

6 opposite of commissioned officer at NOPD is a 6 should | say of personnel files. { can just

7 civilian. | don't have any type of law 7 attest of how we put our files, how we file them
8 enforcement experience. | don'thave a gun anda | 8 within the actual files. But I'm not familiar

9 badge. I'ma civilian. 9 with what's actually in her file at all.
10 Q tunderstand. And how long have you | 10 Q_ Okay.
11 been employed there? 11 A Any specifics, should | say.
12 A Three years. 12 MS. ROBINS: And | want to state for the
13 Q_ Have you been in the same position the | 13 record before you go into any further
14 whole time? 14 questions, because you've said several
15 A Yes. I've been employed with the city 15 times now asking her about Sergeant

16 for 14 years, but NOPD for a total of three years, [16 Tallion's personnel file, but per the

17 yes. 17 court's order, the subject matter is

18 Q_ And what is your job title? 18 just those portions of the personnel

19 A My job title is interim HR director. 19 file that includes commendations,
20 Q Okay. What are your general duties as | 20 letters of discipline, and the
21 interim HR director? 21 evaluations. So those are the portions
22 A | oversee the day to day operations of 22 that Ms. Burkhalter is testifying to.

23 onboarding recruits as weil as civilian employees. | 23 MS. FANSHIER: Yes. | agree. Itis a
24 loversee the separation and retirement process | 24 mouthful. But yes, you're right.

25 for commissioned and civilian employees. | 25 That's the section that I'm referring

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1 oversee the payroll department which is 1 to. So -- and that is the portion that

2 responsible for all of NOPD's payroll processes. 2 you produced in the second -— the second

3 | oversee the employee relations division which is 3 supplement that is labeled CNO $2043

4 responsible for processing all discipline and 4 that you were -- we were just

5 other matters as far as sexual harassment, just 5 discussing.

6 making sure employees comply with taking any type| 6 BY MS. FANSHIER:

7 of sexual harassment courses. Sol pretty much-- | 7 Q_ So how often are evaluations completed?
8 | oversee the personnel payroll and employer 8 A Once yearly.

9 relations division of the NOPD. 9 Q_ Once yearly?

10 Q Okay. How did you prepare for this 10 A Yes.

11 deposition today? 11 Q Is that the same for everybody in the --
12 A_ | was told what was needed. | just 12 like all commissioned officers or is it different?
13 needed to be a subject matter on the actual 13 A Yes. That's for all employees. All --

14 personnel file. | don't have any specifics of the 14 Q_ Allemployees. Okay. So andI--1

15 actual case or anything. I'm not, you know, 15 suppose that we can -- and you have that file in
16 prepared in that manner, just as a subject expert 16 front of you; is that correct? The file labeled
17 as what's related to what was actually in the 17 CNO ST043 0129 performance evaluations?

18 file. 18 A_ | don'thave it.

19 Q Okay. So did you review the personnel | 19 THE WITNESS: Do you have --

20 file of Sergeant Stephanie Tallion? 20 BY MS. FANSHIER:

21 A No, | did not. 21 Q_sIs that the one that your counsel gave
22 Q Have you -- are you aware that that’s 22 to--

23 the personnel file that we're talking about? | 23 MS. ROBINS: | --

24 just want to be clear. 24 THE WITNESS: I'm sorry. | don't have

25 A Yes, | am. 25 it.
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1 MS. FANSHIER: I'm sorry. | thought 1 Q_ Soupon my review of this file that you
2 that you had provided it to her -- 2 have, | don't see any evaluations dated after
3 MS. ROBINS: We have a copy of -- we 3 2018. Sol am asking if you can please assist me
4 have a copy of it here, yes, if you want 4 in understanding where that evaluation is included
5 -- 5 in this file.
6 MS. FANSHIER: Okay. But -- okay. 6 A I'mnot seeing it included in this file
7 BY MS. FANSHIER: 7 that's before me. | do not have the whole entire
8 Q_ So Ms. Burkhalter, you have not seen 8 personnel file in front of me.
9 this before? 9 Q = Okay.
10 A Of what -- the copies that was made, no 10 A Of what was copied, | don't — I'm not
11 | think one of my employees may have made a copy.|11 seeing it. ! see 2018 is the most recent in here.
12 But no | have not seen what was actually copied, 12 Q Okay. That's what I thought. But as
13 no. I didn't think | needed to. 13 you are familiar with these, of course, | thought
14 Q_ Oh, okay. 14 I might be missing something. So let me clarify
15 A Yeah. 15 as well -- are -- hold on one second. Okay. So
16 Q Okay. No. I'm just trying to think of 16 itis your understanding that performance
17 the best way to ask you about it. So! guess can | 17 evaluations such as the ones in this document as
18 we refer to this copy of the section that you have | 18 produced by the defendant are done every year?
19 there in front of you? 19 A That is correct.
20 MS. FANSHIER: Ms. Robins, can you let 20 Q Correct?
21 her take a look at it and -- 21 A Uh-huh, yes.
22 MS. ROBINS: Well, if you have a 22 Q Okay. Do you -- is there another
23 question, | have them here in case there 23 section of her personnel file in which we would
24 was something -- you asked a specific 24 find performance evaluations from 2019, ‘20, ‘217
25 question, she wasn't -- I'd prefer that 25 A No. That would be the only section that
Page 11 Page 13
1 you ask her questions rather than just 1 we hold performance evaluations in that section.
2 ask her to look through this — 2 Q Okay. Do you -- would the performance
3 MS. FANSHIER: Well, ! wasn't going to 3 evaluation section of a file Include complaints
4 ask her to look through it. 4 made about an employee by fellow employees?
5 MS. ROBINS: Ckay. So I'll identify for 5 A No.
6 the record that there are two sections. 6 Q Would those be included in a different
7 The first one produced was CNO ST001 7 section of the file of the personnel file?
8 through 042 and a second set with the 8 A No. We don't file any type of
9 evaluations is CNO ST0043 through 0128. 9 complaints made by another employee in the
10 MS. FANSHIER: Okay. 10 personnel file.
11 BY MS. FANSHIER: 11 Q_ Oh, okay.
12 Q So Ms. Burkhalter, in either of the -- 12 A We have a certificate, the letter of
13 or in the section that you have been asked to 13 recommendation. Yeah. We don't have any type of
14 speak to for this deposition, are there any 14 complaints.
15 evaluations of Sergeant Tallion included for the | 15 MS. ROBINS: The first section that was
16 year 20217 16 produced in the supplemental response
17 A There should be. 17 was a section of the file that would
18 Q Okay. So-- 18 include certificates, letters of
19 THE WITNESS: | don't know what number | 19 recommendation, and reprimand. So that
20 - 20 first section that we produced 001
2) MS. ROBINS: Do you want her to find the | 21 through 042 would have any discipline
22 evaluation for the annual year 2021 or 22 letters if there were any.
23 the evaluation done in 2021 which would 23 MS. FANSHIER: Okay. That -~ | didn't
24 be in 2020? 24 ask -- | asked the question. She
25 BY MS. FANSHIER: 25 answered it to my satisfaction, so we're

 

 

 

 

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1 fine. It does not need to be 1 employee receive any complaints, rank initiated

2 supplemented by discussion of the 2 and civilian?" So can you just explain to me what
3 previous production. 3 complaints would fall in this category?

4 BY MS. FANSHIER: 4 A I don't — I'm not sure.

5 Q Sois there, | guess -- is there a -- 5 Q Okay. Is this something that's in

6 apologies if | asked this already. Is there any 6 every --

7 reason that you know of that the performance 7 A And |don't want to assume. But I'm not

8 evaluations of Sergeant Stephanie Tallion simply | 8 100 percent sure what complaints are they actually

9 would not exist? 9 referring to.

10 A Sometimes evaluations are completed on 10 Q Okay. Yeah. | was confused as well.

11 an employee for whatever reason. They're supposed } 11 And not to press you if it's something you're --
12 tobe completed. So that would be a reason that 12. it's fine to say you don’t know, but can you

13 they didn't exist because it was -- an evaluation 13 explain the term, “rank initiated” to me?

14 was not performed. 14 A From a commissioned supervisor.

15 Q Okay. And whose -- 15 Q Sosomeone above you, above a person?
16 A Um- 16 A_ Right.

17 Q_ Oh, go ahead. Sorry. 17 Q_ Or just anyone commissioned or someone
18 A I'msorry. Yeah, that would be one 18 above you?

19 reason. And | have not lcoked into that to see if 19 A Yes. It'd be within that person's rank.

20 that is the reason or not. Because like | said, | 20 Within that person's -- like, if you are a

21 wasn't prepared to -- didn't know I had to answer 21 sergeant, your lieutenant.

22 those types of questions. But that would be a 22 Q = Okay.

23 reason that one was not completed at all. 23 A Yeah.

24 Q Okay. Who is responsible for completing | 24 Q_ Oh, okay. | understand. Okay. Thank

25 the evaluations? 25 you for clarifying that. So you mentioned that

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1 A The supervisor. 1 the -- as the interim HR director, you oversee

2 Q Okay. And -- 2 employee-related complaint processes including

3 A_ And it has to be approved by the whole, 3 sexual harassment; is that correct?

4 pretty much, chain of command up and to the 4 A No. | oversee the portion of -- each

5 superintendent. 5 year, employees have to take a sexual harassment

6 Q_ Are you aware of who the supervisor who 6 course, all city employees. And that's the

7 isin charge of making performance evaluations of 7 portion that we oversee to make sure that that

8 Sergeant Taltion is? 8 course is taken and completed.

9 A _ No,! donot. 9 Q_ Oh, okay. So it's only the making sure

10 Q Does the personnel file include any 10 the course is done in every department and all
11 notes about Sergeant Tallion's interaction with 11. that’s recorded?

12 coworkers? 12 A Yeah.

13. A _ No. That's not anything that's 13 Q Okay. Great. Oh, okay. Thank you.

14 typically in a personnel file. 14 Okay. Y'all, I'm just going to take a moment,

15 Q Gotcha. That's what -- 1 know that 15 like a minute just to look at my notes and see if
16 you told me that complaints are not generally 16 there's anything else | want to make sure | ask
17 something that would be kept in this file from -- 17 you.

18 but -- let me look at this. Okay. So you see the 18 MS. FANSHIER: All right. So if -- |

19 same file in front of you starts with New Orleans 19 don't know if you want to actually take

20 Police Department Annual Performance Evatuation. | 20 a break at all or -- I'm just going to

21 Can you turn to the first page. 21 iook at my notes for a minute. Okay?

22 A Okay. 22 Thoughts? Okay.

23 Q Sonumber 7 on this page says, “Did the 23 {At this time, 4:05 p.m., a brief

24 employee receive any commendations, rank initiated | 24 recess was taken. Back on the record at

25 and civilian,” and then number 8 states, “Did the 25 4:05 p.m.)
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